Case 1:07-cv-01080-LJO-GSA Document 326 Filed 03/10/10 Paget oh)

VY

& LZ.
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA |
ROGER McINTOSH, CASE NO. CV F 07-1080 LJO GSA
Plaintiff, Fi LL E =,
vs. LS

NORTHERN CALIFORNIA MAR 1:0 2010
UNIVERSAL ENTERPRISES, CLERK, U.S. DISTRICT COURT
INC., LOTUS DEVELOPMENTS, EASTEAW DISTRICT OF CALIFORNIA
LP, THE CITY OF WASCO, AND mY cIEK

DENNIS W. DeWALT, INC.,

Defendants.
/

NOTE FROM THE JURY

The jury has reached a unanimous verdict.

____ The jury requests the following :

KR The jury has the following question(s):
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wt Mevtherwd. ~

DATED: March 2010 fue tbe, >

PRESIDING JUROR

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